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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   1:06-CR-0419 AWI
                                                    )
12                         Plaintiff,               )   ORDER ON GOVERNMENT’S
                                                    )   MOTION TO DISMISS
13                                                  )   (Fed. R. Crim. P. 48 (a))
                            v.                      )
14                                                  )
     JOSE CONTRERAS SOTO,                           )
15                                                  )
                           Defendant.               )
16                                                  )
                                                    )
17
                                                  ORDER
18
            IT IS HEREBY ORDERED that the charges against Jesus Contreras Soto found within the
19
     indictment in this case, be dismissed without prejudice and that any outstanding warrant be recalled.
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21
     IT IS SO ORDERED.
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     Dated:     January 29, 2007                       /s/ Anthony W. Ishii
23   0m8i78                                      UNITED STATES DISTRICT JUDGE
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